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                                    DISTRICT    06/03/24 Page 1 of 17 PageID
                                                08/05/24
                                 OF NEW JERSEY
                        DISTRICT 227135
                                 185071



  In Re Johnson & Johnson Talcum ! Case No. 3:16-md-2738-MAS-RLS
  Powder Product Marketing Sales
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  Practices and Products Liability
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                                   i           CIVIL ACTION
  Litigation                             I
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                                                 Declaration of Allen Smith
                                         I

  ______________,!                       !

        Allen Smith of full age hereby declares:

         1.      I am an attorney at law admitted to practice in the State of Mississippi.

        2.       I am the principal and founder of The Smith Law Firm, PLLC, and,

  in that capacity, I am familiar with the facts set forth in this Declaration.

        3.       On May 23, 2024, The Smith Law Firm, PLLC, was served with a

  subpoena attached as Exhibit A.

        4.       The Smith Law Firm, PLLC is a Mississippi based law firm that is

  neither a party in the above captioned matter nor counsel of record to any party in

  this matter.

         5.      Neither The Smith Law Firm, PLLC nor I has any connection with

  the Plaintiff in this matter, Ms. Barbara Ross, or with her attorneys and neither my

  law firm nor I is counsel of record in any case pending before this Court.

         6.      Neither I nor my firm is a resident of New Jersey. The States of New

  York and New Jersey are more than 100 miles from where I reside or my law firm
  is resident,
Case           Neither my law firm
      3:16-md-02738-MAS-RLS         nor I is33064-1
                                 Document    employedFiled
                                            32603-2    or regularly
                                                           06/03/24 transacts
                                                           08/05/24           business
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  in person within 100 miles from the States of New York or New Jersey.

        Pursuant to 28 U.S.C. § 1746. I declare under penalty of perjury under the

  laws of the United States of America that the foregoing statements made by me are

  true and correct.




  Dated: June 3, 2024




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Case 3:16-md-02738-MAS-RLS Document 33064-1
                                    32603-2 Filed 08/05/24
                                                  06/03/24 Page 3 of 17 PageID:
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  Case 3:16-md-02738-MAS-RLS Document 33064-1
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   Ŵ6ኩ ūடඒ Ǎ ኩƴ໏Ǎग^ኩűѿǎঠ ÅĂă‫_ۦ‬ኩ஠ඓኩš‫ٮ‬஡໚ޮလࡕ౔Ĉኩ ĺኩ໛ᆀ˔೪஢Ҁ੖Ǐኩ঩ǐ቗ኩΰఎপফǑ੗ϕኩǒኩ             ོာᇃНትኩ Ⴍ‫ݠ‬ᇄၰኩሿɈཽኩ૯ఠႮኩวքඈᇅԅ໖၆ԈОኩ ˱ኑኩɉኩാ৵ᅘ቟¨ኩ
೫ҁඔໜண੘ኩဝதኩǓᅒᅓ҂ਖ਼ϖኩǔኩဴ෧ࣙǕ घtኩ‫҃ܥ‬ǖූࣚਗ਼‫`ܙ‬ኩ஥ඕኩѭ҄೬஦ໝޯသް஧ਜ਼ኩநੜङቘኩǗໞኩ‫ॱुۍ‬னሮໟĠኩ                      ŔI Ƭിօͯं ࠿òó‫܅‬ኩŕు૰ПࡀႯࡁూ૱ဖኩɊཾኩ ɋ૱ኩņংᅨᅺ৶ɌႰࣽርֆ¨ኩ ŵ૲ኩ၆‫ݡ‬ևኩ͛ࡂศͰᇆ৷ཿႱȀૠώֈྀ
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    Ļ7ኩሯࣛွ‫ޱܦ‬੝ኩ îÒÈኩব࠷ॲ҅໠ኩப‫ٱ‬ኩሰ‫׏ܧ‬ญ҆ኩဟ‫҇ܨ‬ኩ೭҈ຕ໡஫ਫ਼ኩඖ҉໢޲ϗҊ໣aኩ޳໤ኩҋভ೮च஬቙Ҍϕኩ஭඗               Ϣ։ཱྀͱษޯ˲֊Рኩࡃઊኩƣᇇॊ֋ኩęěСJ2ĕKኝŏLzኩ ो‫֌ݢ‬ኩͲృᇦຶ႑ኩ৸ɂ቟{ኩࡄ૳ྂႩԅɍТኩ஦‫ٿ‬ኩඉᇈɎ໠‫܆૴ࡅޔ‬ኩౄสኩ
඘ҍۧᆁछǘຣॳቚኩဠປɐ੟໥Ǚ̖အ໦ኩ˕ᆂ໧ߊ੠ҵ໨໩ኩ޴੡ኩ೮Ҏ඙໪ம੢Ĭኩயකኩ                                          ৹ಇУࡆ ‫ڼ‬ኛࡇ૵‫܇‬ኩɏኩྃᇉ˳ീ౅֍૶ɐ|ኩెยФ֎ඏኩɑുൂ֏ɒຒǾ૶͍֐ኩేหኩൃบరФᇊ̫Ⴒࡈத૷ኩᇋ૸Йҋฬኩྃദҕͳࡉ‫֑ۈ‬Тኩ
    ō8ኩስ޵ဢ‫ޯܩ‬੣ኩဣ‫ܪ‬ҏኩ໫ဤǚဥҐኩሱ‫ܧ‬ґඛҒኩဦ݉ғኩ೯Ҕග໬ர੤ኩඝҕ໭޶Ϙҕ໮bኩ޷໯ኩҖম೰जறቛҗϙcኩலඞኩඟҘۨᆃझǛචञቜ         ʹఽ૏фࡊႳࡋై્྄ኩࡌ‫ڀ‬ኩႴ‫֒ݣ‬ኩ྅֓อሞࡍૹ‫܈‬ኩൄɓßႵቻĦኩ
ဧ຤ˆ੥໰ǜ̗ဨ໱ኩ˖ᆄྫྷ࣓੦ҙ໲໳ኩ޸੧ኩೱҚඡ໴ள੨dኩޯ‫ٲ‬ኩဩ‫ܫ‬қኩೲԹජ໵ழ૩ኩ                                               ߸4ኩໞ‫౉ݤ‬ቀ྆ኩɔኩ྇ᇌ˴ྈႶɕૺႷࡎȗौኩଂҕ֔Хኩ‫ڬ‬೙๩ኩၳ‫֕݋‬ኩႸ֖ྉႹࡏ৺ొૻቼኩోฮኩথɔႺ֗ື࢝ɖ्ኩႻ‫ݥ‬ɗႼኩͨȥૼ૽ౌႽኩ˵֘
        ޹ኟኩ޺໶ኩǝኩೳǞඣဪቝኩ வඤኩǟኩ೴Ǡඥဩቴ༝ኩஶ‫̘ ہٳ‬Ҝඦĭኩஷටኩ                                    ்Ⴞ‫ݦ‬Ԇ৻ኤࠀྊ֙ኩৼ֚Ⴟኩቁࡠᅩ‫్ݧ‬ᆳჀኩᇍ૾Цᇎ֛ኩ‫ރ‬ɘฯЦྋ‫ࡐݶ‬ൺħኩə૿Чኩ
        ࣜࣝ9ኩ޻໷ኩξೃ৯যǡ੩ϚҝϛኩါஸኩǢ႞ᅔҞ੪ϜኩǣኩာඨްǤटኩǥ੫ϝኩሲైᆅठϞኩ੬஗ိኩ޼੭̙ᆔລኩ໸ᆆ˗໹ီˇஊု޽Ǧड               !ࡑ޼ Mኩ֜଀ྌᇏะ֝ྍኩჁ‫ݨ‬ɚჂኩჃܵ֞ኩྎᇐ˶ട౎֟੪ɛᅻШኩ೹֠ัྏ఻੥ኩቂࠓङঃኩˣԶኩา֡ɜྐ౏ଁɝ˷ॎችኩ̮౿৽ഴ֢ଂྑɞၮ‫׍‬Щ¨
ҟ቏೵Ҡ੮໺ҡኩ
                                                                                     "֣ NኩŢᇑჄࡒ֤ྒኩࡓଃኩƤ֥ྒྷ൅౐଄Ъࡔଅ‫܉‬ኩ Ⴥ౑ኩɟኩƭᇒ˸െ౒֦ଆɠ©ኩ
  č :ኩŬஹඩኩƇူ‫ܬ‬Ңඪኩঢžࣺ»̚஺ሒңढżኢኩ ļኩ໻ᆇ˘೶஻Ҥ੯ǧኩরǨ቞ኩ̛ு঱লȻઅϟġኩ
   Ľ;ኩ೷๹௚Ϡᆈ̜ေ޾஬੯ኩ௧‫ٴ‬ኩϡ஼̝ᆉ঳ҥੰဲ໼eኩҦणҧ̞ဳ຦ಣੱ޿̟ˋङश቟ኩ໽ဴளණҨϢኩ߀ੲ‫ێ‬໐ɮဵ߁஽ੳfኩாඬኩ                    Ɨ৾Ы৿Ĩ‫ڭ‬೚ ţ౓͵ᇓ਀֧ଇ჆ªǇእኩ ౔ำኩŦÄ٣Ͷᄁิàਁࡕਂণ ƮჇąĆี֨ЬኩŶଈ‫ځ‬டึਃɡ჈ࡕ೥ଉ}ኩƹ‫֩ݩ‬ċ֪ኩ
ံǩੱ۩߂˙ॴҩኩ့‫߃ܭ‬੥۪໾ኩǪးኩǫኩ೸तǔ̡Ҫኩሮ߄္‫߅ܮ‬ੴኩ थኩÉÊኩ঴߉ॴҫ໿ኩி‫ٵ‬ኩሳ‫ܯ‬Ҭฐҭኩ်ܰҮኩ೹үතༀதੵኩථҰ༁߆ϖұ༂gኩ߇༃ኩ       എසెͷ֫Эᇔืҋྔኩɢേൈॏቾኩ჉ఊኩ൉ຸೇЮᇕ͸ࡖଊ‫܊‬ኩЯౕ͹ᇖ਄֬ଋ჊ྕኩౖผኩ֭ॐ֮ͺဳວఓଌࡗ͈ɣ঄অቿኩྖ჋௪ุԅϙኩ
Ҳ঵೺दீበҳϣhኩுදኩධҴ۫ᆊधǫວॵቡኩျຨˈ੶༄ʷ̠ြ༅ኩ˚ᆋ༆߈੷ҵ༇༇ኩ߉ੱኩ೻Ҷຌ༈ூ੸ĮኩǬ੘Ϥኩ                            ޯ଍‫ڮ‬೙ู৸ǿဳࡘத଎ĩኩ
    ߊ੹໖೼ҷ̡ွ࠮௒੺ኩ௃‫ٶ‬ኩ೽නҋ৉ߋ༉ҸྰኩǭႦኩှܱҕኩ೾඲ҹশߌ༊Һ་ኩဿ௄ኩˮһኩߍ੻༌೿Ҽο၇ҽϥኩ                          #ŇOኩŤ౗໓ਅּચ॑ྗ«ኩ ňኩൊ‫྘ฺו‬஦ଏኩ඾֯ྙോౘଐа࡙଑‫܋‬ኩ჌ౙኩɤኩྚᇗ‫ݪ‬ൌౚ‫ض‬଒ɥኩႂ౛ኩ೹ູೈбᆹͻҀኩЕ౜ͼቃଓְଔჍྛኩ
                                                                                     ਆᇘྜ჎ኩ ്ฌ்вᆤ̨ԅኩ ჏‫ܩ‬Ӹਇኩɦྜྷኩ ဨ‫ͽݫ‬ኀኩɧ฻ֱኩ ऐֲ೷࡚ኩ࡛କኩ ა‫ֳݬ‬ኩౝ฼гࡥଖɨ໌ቜኩ;౞ᇙວ༜ִኩ௦‫ڂ‬ኩ˒ᇮྞ࡜ଗҋ~ኩఅ฽ኩ
Ϧ<ኩ ƒຩೄ၀Ҿ̢၀ߎ੼۬ኩᆌኩƓҿ້༨௅੽ኩƨᆍ˛आ Ӏ̣၁ኩ ၂ெኩ ǮኩƩᆎ˜ഀேӁ੾ǯįኩ ť੿‫ڣ‬೐ඳ̤ӂষӃ઀ᅕµኩ                    ਈᇚྟბኩ௽฾‫܌‬ɩ୽࡝ኜՓኩɪଘдኩ ॒ǟ˹٤আኩგ‫ݭ‬ΰ࡞ଙኩ ဩ಴ኩ ŖƊইǀŗƯ൬౟ଚѧኩ დౠኩ႖‫ֵݮ‬ኩͿɫეֶ‫܌‬ౡ฿࡟ַྠኩࡠଛኩვ‫ָݯ‬ኩеֹਉɬଜж¬ኩ
                                                                                         $ŐPኩŭౢเਊÀౣแኩƘ຺೉зᇛ΀ࡡଝ‫܍‬ኩŧֺ॓΁ზົೊଞࡢφˍঈউ ư॔౤โֻиኩॕá‫ࣻڃ‬īใ਋ɭთࡣ౥ôõኩƃ౦იኩƱּ΂‫یڠ‬ϓѲኩ
  × CኩľሓைࣿߏÞĄۭኩǁઁϯᆏӄኩŎᆐපϧ၃ኧંኩ௉ඵኩŪӅᆑ།ӆİኩƪǰઃ̥၄ࣼ௉઄༎ኩĿኩഁǱබဤቴኩொභኩǲᅖᅗொສ஋Ӈቢኩ              Ÿ‫ږ‬ኩɮኩྡᇜ˺ൎ౧ֽଟɯኩйఅҮྡྷኩଠொკኩྣ൏ҕ΃ࡤ‫ڄ‬ኁኩʱኩ‫گ‬೛ଡଢኩۗไኩ൐෬ొкᇝχࢻ્܎ኩ‫־‬ॖֿΞ၇ේோଣ࣯ψɏঊঋኂኩྤლ౨ๅՔѥኩ
මӈ༏೹ோઅ༐ߐ˝नӉኩ‫ڤ‬೑ඹኩߑ༑༒ᆒߒઆ‫ۮ‬ኩȕધϡኩཛӊයሔ߆੥‫ۯ‬ኩǳኩ༏ᆅ˞ംூӋઇǴኩসᆓ༒၅ኩჂǵएҕኩරӌǶ༓ௌઈǷ˟ङӍኩ༔၆ӎഃ༕ኩ           ࡥତ ‫ڗ‬ೋ୵ଥȓေࡐ౩ଦኩ მ‫׀ݰ‬ኩ൑‫׀‬ຒ࿍౪ଧኩๆ։ྥ൒౫હлࡦନ܏ኩ਌ᇞྦნኩ൓็౅ϕᇟ΄ׁኩࣛუኩࡧ଩ኩʓኩۘâ਍ኩ౬่ኩ‫ڤ‬೜้਎ྦྷኩࡨପኩ
၇்ኩ Ǹሕ௎޻Ͽኩ ߌੌം௏༖ߓઉ‫ۻ‬ኩ ᆔઊϨᆕӏኩˠᆖ඼ϩӐઋኩௐලኩӑቐ೹Ӓ੥༗Ӓኩ௑ઌኩǹኩഄӓ඾༘௒ઍኩ༙ᆗˡइӔ̦၈ኩ၉௃ኩ၅ܲӕኩ             ቄ‫ݠ̓޹ݱ‬ኩࡩოኩࡪཪኩௌ๊Ϥ࡫ଫɰ๋࡬ॗኃኩਏɱ࡭ବေǴࠁଭׂмኩ౭์ኩ࡮ମኩɲኩํ‫׃‬ᇠྨ౮ଯɳ˶क़ኄኩ ᇡྩǴ˶ुׄኩۙ๎ਐኩ౯๏ኩ‫ڰ‬ೝ๐਑ྪ­ኩ
༚ᆘˢഅ௓Ӗ઎ǺኩƵܳӗኩ ̧௔ᆙຫᅘኩ ‫ۏ‬඿ኩ၊ܴӘኩϪߔ༛ᅙߕ̨။ኩሴܵәවҕኩ̩એহആऩߖǻઐ̪Ӛኩ ߗ༜ኩශӛൻᆚߘෂӜϫኩ঺ᆛ༝၌ኩ                %ŘQ ũড΅Άპ๑౰ö÷࡯·ɴऀኅኩƲჟ౱๒‫ׅ‬нኩতãÆରøùɵख़ࡰ౲úûኩ ƙ๓౳оᇢω٥пኩࡱ଱ኩƋଲग़ኆኩ Ƌଳ‫׆‬ኩŮ౴๔਒®ኩƺ‫ׇݲ‬
ӝઑ ‫ړ‬೒ස̫Ӟኩ၍ܶߙ༞ኩϬᇤნቭኩǼ઒ϭኩࢡ঻഻௕༟ӟኩǲઓኩʒ೵ഇකழഈහߚǽ၎Ӡኩ໵Ǿઔπᅚߛ௖કስܷߜ̬ܸኩ়ǿባኩ࢔ખ̭पᆜϕӡኩ             ൔ‫ຼ׈‬န౵ોኩ๕‫ྫ׉‬ൕ౶଴р޻ଵ‫ܐ‬ኩଶԫ‫׊‬Сኩଷ౷რኩൖ๘஖сᇣΈ‫׋‬ኩს‫׌ݳ‬ኩྫྷɶਓ‫׍‬ኩ‫׎‬शҕΉႛඡ౸ସࡲΊʓঌ঍ኇኩ༠ტௌ๹‫׏‬тኩ
फர༠၏ኩӗȀຬ஌ࣅશ۰༡ኩȁୋϮኩළӢȂ༢ௗગȃˣबӏኩȄ၍ᅸ௘໒ӣቤ༣ኩ‫ې‬Ӥ༤ËઘኩȅኩഉȆෟᅴብኩ௙යኩȇဨშ௚๘஍ӥቦኩሶܰ௛ኩ              ࡳୂ‫ڱ‬೛๖ਔɷუ߸ோହኩ ࡴାኩਕ౹๗‫א‬ኩფ‫ˎݴ‬ஏኩ౺଺‫ב‬ኩ‫ڲ‬೘๘ਖ¯ኩ
‫ڞ‬ːߝळ༥ኩၐ௧ኩ̮ௌঽഊभቧ§ኩ                                                                         Źஐɸϑϒ٬ပྭࡵ˻ज़‫ג‬ኩŨ‫דڅ‬΋ქਗ଻ࡶϊሏ঎এኈ Ƴღ౻๙‫ה‬уኩäüýÁÎ๚ਘɹঐࣰ౼଼ §ኩƻ‫וݵ‬ኩൗԲඨဓ౽ଽኩ
                                                                                     ๛֯ໞ൘మੜфࡷାܑኩି‫ז‬ҝхኩୀ౾ყኩ൙ຸಧሟࡸц‫ח‬ኩчࡹྮΌ౿ሠ‫ט‬໕ኩಀ‫ٴ‬ኩ‫י‬ड़Լ΍შෑ௚ୁޯΎɺ঑঒኉ኩྯჩచฑҕшኩࢸஒ಍๜ਙɻცࡺಁୂኩ
  Ď= şাiিȈઙϯኩम௜ኩ Ɣෆ௝ϰᆝ̯Ӧኩƀȉၑӧ෇ߞȊय༦ኩ ௞෈ኩƕӨ෉ীߟၒኩ Ø༧ഋө̰ၓࡕ஡ĉ ኩ                          ‫ژ‬ಂਚኩྰಃᇤ๝Ώ‫ྱך‬ኩძ‫ݶ‬ɼႠኩႥ‫כݷ‬ኩ൚‫ל‬๞ྲ಄ୃኩࡻщ‫ם‬ୄწࡼ‫ླמࣱڙ‬ኩɽྴኩ୅ಅჭኩ๟‫ן‬Ǿྵಆ୆ɾ˼ढ़ኊኩɿΐΑ‫˽ࡽྷྶנ‬फ़‫ס‬ኩˠ‫ס‬Βʀᇥྸ‫ע‬ኩ
    ŀ>ኩŁഌ഍Ӫȋ්Ȍચ̱ӫኩ Ƃ௟ၔኩƠӬർᆞࡱໃӭϱ¡ኩ łኩഎӮฉ໬௠છኩ̲௡ুূȍ੡ϲӯϳኩၕ௢ኩഏອ೅ϴᆟ̳Ӱ                      ಇ‫چ‬ኩᇦછъᇧ‫ף‬ኩ˾ᇨผы‫פ‬େኩಈ๠ኩ½ಉྐྵၘ·ኩƌୈኩ৫ಊხࡾಋ୉ኩჯಌኩ¾಍ਛ൛‫ץ‬ऱኩьࡿྺΓృሡ‫ץ‬๟ቭኩ௡ຓኩۚ๡ኩʁኩ൜ඛಕᅪ٦эࢀሢ‫צ‬ኩ
ϵ௣̴ᆠৃӱજᄒ༨jኩӲरӳ̵႞ໍர੺ߠ̶Ȏॶॷቨኩ༩၆௤෋Үеኩߡઝ‫ړ‬ೆઞৄÙဳߢ௥ટkኩ௦෌ኩ ၖᆡઠ۱ߣˤऱӴኩၗܹߤડ۲༪lኩ௧෍ኩၘ௨ኩ            ಎ๢Е‫ק‬๣ኩჰ‫רݸ‬ኩ൝‫ש‬๤ྻ౎୊ኩ෗‫ྼת‬൝ಏઢюࢁર‫ܒ‬ኩਜᇩ྽ჱኩ྾‫ݹ‬௨ቅኩჲ‫ݹ‬ʂჳኩჴ‫دݜ‬ኩࢂੴ‫ڳ‬೛໑Ȼჵࢃோળኩࢄ྿ኩୋಏჶኩ
ഐӵຨষߥၙኩၚܺӶኩߦઢ༫൪ Ӳ̷ၛߧ௩ણኩ௪‫ٷ‬ኩ഑෎Ջ৅ߨ༬ӷ໳mኩતӊӸϢኩથௌဨኩ ȏഒഓӹȐාኩߩੜኩഔӺැ༭ஷદኩȑၜኩၝܻӻኩ ഻लȒ̸Үኩ௫‫ٸ‬ኩ     ๥‫׫‬Ȁ࿀௒ୌʃ˿ौኋኩʄΔΕӍ࿁࿂ࢅ̀य़‫׬‬ኩ‫׭ݺ‬Ζʥᇪ࿃ҽኩಐ‫ڇ‬ኩᇫੱяᇬҙኩ˴ᇭ๦ϹԼ૙ኩ౜๧ኩΗ಑࿄ᅫ¨ኩও‫ښ‬ჷ‫ݑ‬ʅჸኩ࿅‫ݥ‬ொቆࢆ੬‫ܓ‬ኩ߄࿆ኩ
കූఎ϶ᇭ̹ၞߪ௬ધኩ௭ෑኩࢂୁ༮ൔӼ̺ၟ߫௮નኩᆢ઩ळӽ༯༰ኩȓऴ༱௯ኩ̻௰ে৆ȄતϷӾѩኩၠௗኩȔ೼ഖӿȓිኩ‫ڥ‬೓ීኩǞኩϸԀഗ௱༲ޯ၆߬ಳપ¢ኩ          ঩ʆѐҕኩჹ‫ݻ‬ҺኩΘఓᇮ໊ᅵኩਝʇኌኩ୍ಒ୎‫׮‬ჺ‫ׯݼ‬ड‫װ‬࿇࿈ኩಓฉё‫ױ‬๨ኩϨ޿࿉̭ఈሕҲฌቴኩۡீਞኩ࿊ᇯΙ‫ݽ‬ኩ࿋ಬᇰ๩ΚԈ࿌ኩࢇ‫ڈ‬ኩ჻‫ݾ‬խኩ
ܼӒȻ๧߭ફ۳nኩ௃ුኩၡ෕߮ȕॸ­ኩ                                                                  ๪‫ײ‬ඊᆀ‫׳‬࿍ჼߤ૎‫ܔ‬ኩ൞ਟ࢈ቺኩ༶‫ݬ‬ಔቇ࿎ኩ‫ܕ‬ಕಕђኩΛʈᇖ࿏‫״‬ኩΜಖ੺࿐ߘѓ‫׵‬๫ߔ୏‫ܖ‬ኩჽ‫׶ݿ‬ኩऽࢉਠࢊၤȴჾࢋಗિ࿑ኩಘ‫ډ‬ኩƥᆵࢌΝኩ
     ƈव߯‫ٹ‬ԁ̼ၢ߰௲બ༳£ኩŃኩഘԞූ༴௳ભኩ̽௴েৈȖ੺ϹՖϺኩၣ௵ኩ೹෗௶ϻᇖ̾Ԃኩϼ௷̿ᆣ৉ဗમၤ༵ኩ௸ෘኩၥʱ୲‫˥߱ۻ‬लԃ              ďĝ&́R 'ĐS (ŝZ ኩƼ‫׷ܯ‬ኩ͠௮ᇱ๬ჿኩਡȻኍኩ࿒ൟ‫ڊࣲ ͋׸‬኎ኩᅼಙ୐єࢍᄀࢎಚ୑࿓ኩ‫ڴ‬ೖ๭ኩ႘‫׹ހ‬ኩѕ࢏࿔Ξீሣ‫׺‬๮኏°ኩ
ၦܽࢂય۴༶ኩ௹ෙኩၧ ௄ኩങ‫׺‬৊Úࣞᅛኩ߲ર༷ചҌ̀ဳࣟ௺઱ኩোȗቩኩ༸ԄේሖҀኩÓïÛኩၨܾԅኩഛȘෛာቪኩ௻ොኩȾᅜᅝ௼৊́ቫኩϽҷ༹߳۵લșၩԆϾኩ
ߴળኩၪܿԇኩཅᆤ˦ജ௽Ԉ઴Țኩțኩሷෝߵᅞᅟԉવኩ௾˧ई Ԋ̧ၾ߶௿ଠኩၫఀኩ ߷શ༺ഝԋ͂ဩ߸੬۶oኩΰఁഞቬ߹ષ۷pኩၬԌཿၭߺસ۸qኩహෞኩ          )đTኩřॠʉ࢐ਢःᅳ‫ܗ‬ኩƚኦ‫ڛ‬ຽࣳॡ‫׼ܘ׻‬ኩಛ๯ኩƛ๰ਣ‫׽‬Οᄁ࢑ਤ๱±ኩ
༻Ȝৌഈॹ࣠હ۹ኩȝੵቭኩంෟኩȞतॺኩః‫ٺ‬ኩၮ݀Ӓኩ ্ǔဣԍຮ࣡ʢश༼ኩ ఄ෠ኩၯௌኩ߻ଏ༽ഝ҂̓ၰ߼઺‫ۺ‬ኩၱ݁Ԏኩട෡ԏৎ߽༾Ԑ༿Ì෢ኩၲఅኩ           *ŉአኩऄÂÏ๲ਥʊঔࣴಜþÿኩ ǃ࢒ᄂ‫ނށ‬٧কі¨ኩ Ŋኩൠ‫׾‬๳࿕ಝહኩ ቈ߻ᄃ݊‫݌‬ಞॢїࠄ଴‫ܙ‬ኩ࿖ᇲ̂೮ௌՂ୒ɏ‫׿‬Тኩ޿୓‫ڵ‬೜๴ਦʋᄄ࢓ಟ୔
ഠสதϿᆥ̈́߾઻‫ۻ‬ኩӉझԑ͛ᅚຏ௳୮࣌ͅȟŲቮኩཀၞఆ෣ԒЀኩࠦ஑‫ۑ‬෤৏ǵၳ߿ఇ઼ኩ ޿ઽኩၴ݂ԓኩ‫ے‬෥৐ኩோයኩ‫ڦ‬೑෦৑ཁኩ෧ҕൽᆦԔဒᅠԕЁኩ          ᇳ୕ј‫؀‬๵ኩʌኩϋখʍ࢔ৰኩႨ‫ݭ‬Țᄅኩŷွኩ࢕࿗ኩൡ๶ޯǄ޹ ॣԨ‫؁ܚ‬љኩచປኩཪᇴ̃ऋԅΠᄆኩဨಠኩ೫໇ఒᄇ‫؂‬όွ࢖಑ୖኩȄ࿘ኩᄈ๷ࢗʎ।്๸‫്؃‬ʏ຾ˏᄉ࢘థୗኩ
ƶ݃Ԗኩఈ˨उ ҷ͆ᅡࡧఎાኩৌᆧགၵኩ˩զኩགྷԣ෨ሗҷЂኩ˩ԗ‫ۓ‬෩ԗኩၶ݄ԘኩԙȠ෪ॻ߸Ԛ෫ኩௌ‫ٽ‬ኩႧ݅Ҹኩၷࠀ৒ԛኩཆഡҷ͇ޯ‫ۂ‬ԜЃኩ ‫۔‬෬ኩ            ਧʐᄊ؄๹࢙ʑ॥ኩਨᇵ࿙ᅬĪ
͈ఉ৓ഢषࠁȡ૤͉ԋኩ஽෭ኩÜ ė ኩЄȢችངኩȣۢԝ෮ኩွ݆Ӳኩ༮ᆘ˪ണ಴ԞિȤኩ޹ཅኩཆԟ໋ሚԠϺ¤ኩƿ‫ڔ‬ȓીኩఊ˞ऍԡΰၸࠂொુኩࠃཇኩ৔ʪЅ֎rኩ             +࢚ኡኩ؅ቕ഻๺؆࿚࿛०ነኩ਩ʒऑ؇ኩᄋ‫ރ‬؈ኩΡञʓ࢛ਪĴኩʔ୨ћኩ
ၹ݇Ԣኩ‫ڧ‬೔ॼॽதሸࠄੳ‫ۼ‬ኩ৕ࠅҚ཈ኩȥതഥसቯĢኩ                                                                , ࢜࢝Uኩњ؉࿜΢๻࢞̄؊ኩᄌ‫ބ‬؋ኩૼȰႏᇘพ،ኩ౯‫ڋ‬ኩႪ‫دޅ‬ኩ ቉ޯᄍ‫҄އކ‬लϡኩϘಡΣᇶਙ‫؍‬੨ᄎ࿝ኩΤ఻ਫ੄ᇀ୚͚ࠥȴᄏ࢟ಢ୘࿞ ኩಣ๼
      ኞࠬ?ኩńၺኩȦ੏ተኩၻࠆ৖ԣኩఋତኩૂఌၼࠇ͊Ԥኩၽ఍ኩၾ݈ԥኩ͋ఎৗ৘ǜૃϴԦІኩഖԧ෯ཉఏૄsኩၿ݉ҸኩཊԨ෰መࠈૅ‫۽‬ኩദˉ࣢ႀቱኩ         ာʕ୩‫ޯܛ‬ˮझ؎ኩᄐ‫ࡴވ‬୙‫ܜ‬࿟ኩࢠ୚ኩʖኩਬʗ୛ଡ଼؏๽ኩႏ‫މ‬ʘᄑኩሶࢡᄒ‫ފ‬ఛᇷᄑኩ๾ؐሤؑʙ१࡜ଢ଼‫ܝ‬ኩࢢ୞ ‫ړ‬ೞ඿਎ʚᄓߤఌୟኩࢣᄔྯՖগ‫ڌ‬ኩ
৙ȧቲኩ ৚ಥሙԩኩႁ݊Ҹኩ͌தልຯၱኩ‫ڨ‬ೕ෱ኩ႕‫ܫ‬ԪኩЇࠉཋᅢࠊρ႒ኩ ሹ‫ܫ‬ԫภ١ኩ͍ఐ৛ംॶࣣȨ૆Ԭԭኩ ޼ཌኩෲԮൾᆨࠋෳԩϬኩ ‫ک‬ೖ෴ኩȩેኩ        ൢ඿޾ሥࢤ०֙‫ؒܞ‬ћኩௌ๿ኩൣ຀ತၵؓΥᄕؔќኩቊࣵঘঙኩؕୠʛ˥ल٨ኩ႖‫ؖދ‬ኩ೪ʜກဣࢥ‫ؗ‬࿠ኩၳಥኩȠ࿡࿢‫ؘ‬࿣࿤ኩᄖ‫ؙތ‬ኩΦैʝࠂਭ­ኩ
఑෵Јԯ෶ኩ͎ఒড়ധ԰ढ़ॾࠌ୉‫۾‬ኩനະாЉᆩ͏ႂࠍఓૈኩப෷ኩࠎૉཌྷഩԱ͐ႃࠏௌ૊ኩ                                            -őV åæçÃÐຂਮʞচࣶୡୢኩƜ່೦ѝᇸΧ‫ؚ‬Д«ኩ ź‫ڜ‬ኩࢦୣ‫ೌڝ‬຃ਯʟᄗࢧದ૝ኩഫ຦಴ϕᇹΨҕяኩࢨିኩයҕ࿥ൊ஗੯࿦‫؛‬ኩᄘಧኩʠ
      ࠐࠑ@ኩƷ‫݋‬ԲཎԳኩȪ͒ႄཏኩঢ়ȫታኩ˫Դኩ෸ԵൿᆘࣤັԶЊኩఔહहቴኩȬཐኩŽ¹ࠒ෹ԷςᅅԸЋኩࠊોኩႅ‫݌‬Թኩక෺ЌԺ෻tኩȭૌЍኩЎÝԻኩ      ࿧ᇺ̅೵ನ‫؜‬୤ʡኩࢩ࿨ኩ༠ᇻ̆ऌ‫؝‬Ιᄙኩ၍಩ኩɍኩΩञʢࢪਰኩ௓‫ڍ‬ኩ൤ํޯሦࢫ फ़‫؟ܟ؞‬ኩ஫ยኩಪ‫ڎ‬ኩ൥຿್ᄚ‫ؠ‬Ϊᄛࢬಫ୥ኩʣ࿩ኩ
ఖ෼ЍԼඡኩ৞ᆪ໖ႆኩപอౙႇԽ͑ႈኩȮኩഫԾ෽ༀగ઩ኩሺ‫ݍ‬ఘኩࠓདኩ્Կ޾ႉ݀Հ෾ኩǼኩ೺ȯ෹ႉቴኩ ૎ఙ෿ኩǝኩബʎඬ၇ትདྷኩచ‫͒ۃٻ‬Ձ฀ኩ‫ں‬ໂமয়ኩ       ᄜຄࢭʤ२൦຅‫ء‬൧ȴ฽Ǿᄝࢮಬૢኩ਱ʥᄞәຆࢯʦ३ ኩᄟ‫آލ‬ኩ൨‫أ‬ງ࿪ಬ୦ኩਲʧऒ߶୧ ‫ܠ‬ኩᄠ‫ގ‬ґኩ͠डʨࢰਲ਼ኩ਴ȓኑኩ୨ತᄡࢱ‫ڏ‬ኒኩȓ੒ናኩ൩ɜ෥ᄪኚኩ
ནࢂ ࠔ‫͓ۄ‬ǝ૏ႊኩՂቑ೹ҕ੗པԒኩกՃཕᆫॿᅣࠕ઩‫ۿ‬ኩ‫ڕ‬າமৠኩ͔ఛৡഭऺࠖȰૐ͕Մ¥ኩ                                      ᄢ‫ޏ‬ʩᄐኩຈΫάέ࡮ǅήўኩᄣ‫ؤސ‬ኩࢲ୩‫ڶ‬೟ຉਵʪᄤࢳಭ୪ኩಮ‫ڐ‬ኩᄥ‫إޑ‬ኩύडʫࢴਸ਼ኩʬ୫џኩᄦ‫ئޒ‬ኩ˶ʭ࿫ߔ࿬ኩ‫ڷ‬ೠคኩࢵᅭ¸ኩŋۣ٫ชኩ̇٩ࣷ୬ ‫ܡ‬
                                                                                    ୭ొᄧࢶ‫اࣹڡ‬Ѓኩʮኩ ൪ʯยᅶኔኩ਷ᇼ࿭ၯኩ ൪ເ್ਸ൫ᄨ४ኑኩຊ‫ب‬ᅹᇮ໔ኩ࿮‫ة‬උᇽ‫ت‬࿯ᄩ‫ث‬සኩௌ຋ኩϜׄ࿯Ⴇພచንኩ်‫ޓ‬ӊኩ࿰൬ҍίࢷ‫جۉ‬Ѡ
 ƞðñȱབ‫ࠗݎ‬૑‫܀‬ኩÍÞኣኩƁజЏँऎከࣥஎ‫܀‬ኩȲኩƫᆬ‫ݏ‬ſᅷ[Şȳ¦ኩ                                           ࢸ୮ۛ୯୰ʰᄪࢹௌੱኩȻઆѡኩʱଟኖኩΰಯ೺ࢺ‫ح‬࿱ኩࢻᄫኩ‫ޔ‬ʲ࿲ ĵኩ ਹᇾ࿳ᄬኩୱ౫ჳኩᇿ࿴‫خ‬ኩರຌኩѢࢼ࿵ώणಎ໵‫ت‬ኩჱ‫دޕ‬ኩࢽ୲‫ڞ‬ೡຍ਺ʳᄭࡋத୳ኩ
   ŅAኩ ऻ‫ݐڽ‬Յ૒ኩơՆ඀ᆭ࠘໅‫٭‬уºኩƉ૓ኩႋ޻ৢԛ़ቶኩৣ௹ႌ߉ௌ૔uኩႍ‫ݑ‬Շኩ͖ఝᆮขႎኩ‫ڪ‬೗ฃኩႏ‫ݒ‬Ոኩϖ࠙བྷ႐คࠚ͗႑ኩሻ‫ݓ‬ՉූՊኩ         ሀહᄮࣸছኩᄯ‫ذޖ‬ኩαणʥ߶਻ኩޯ࿶ኩඕ‫ر‬࿷ௌ५ሧ‫ز‬ѣ Ķኩ ਼ሁ࿸ᄰኩᄱȓओ‫س‬ኩຎ‫ش‬ʴ࿹௡૩ʵ̃ण‫ص‬ኩ࿺ႂ‫ض‬൭࿻ኩᄲಱኩฃԝဨຏࢾӊረ‫ط‬ኩჴ‫ޗ‬Լኩ
͘಑৤മऽࠛǪ૕͙ՋኩޯམኩฅӶඁᆯ޺ฆҋАኩ৥ᆰཙ႟ኩංᆱȴཚ‫ݔ‬ኩఞงኩ০టБߗ ‫ټ‬ቷኩȵኩཛᆲˬഝఠՌઠȶኩ႒‫ݕ‬ȷႉģኩ                      ࢿ୴ۜ୵୶ȩႨࣀௌ୷ኩ‫ڑޱ‬ᄳ‫׭ޘ‬ኩ൮ȸᄴè ኗኩѤࣁ࿼Ϗङಲ࿽‫ظ‬ѥኩ߸ᄵኩ̈‫ڴة‬ೢຐԅኩ̉ԝࢢ੫‫ܢ‬ኩ੺ಳᄶߌ‫҅ۊ‬Ϣ ķኩʶ੥Ѧኩ਽ʷ቙ኩ൯ຑತਾ൰ᅮজኘ
     ࠜB ‫ࣦھ‬श࿙ኩ႓ఆኩȞঀঀడሼኩȕኩจӈȸཛྷఢ૖Ȁˬाԛኩ႔߶১Սኩၧణኩ ͚త২യिቸıኩ                               ൱ຒ‫ع‬࿾‫୸غ‬၆ኩᄷ‫ػޙ‬ኩࣂୃ‫ڸ‬ೣ୹୺ʸᄸީல୻ኩሂ୼ϖ‫ؼ‬ຓኩ࿿‫ʹؽ‬लኩᄹఏኩᄺܶ‫ؾ‬ኩαோਿᄻኩ‫ڸ‬ೢດኩဤ‫ؿޚ‬ኩѧࣃကᄼฐߤβၼኩቋ‫ـޛ‬ຕ‫ف‬
     ࣧࣨC ฉՎඃᆳߔยՏཝኩȹኩരՐชཞథ૗ኩ႕దኩΰధ৩റीተኩ ˔ՑቩనિϢኩျ‫ݖ‬Ւኩ‫܌‬Փ఩‫܁‬ຳˊല‫ࠝݗ‬σˋडኩुࠞ৪ࠟ႖ཟ               ̨಴ੀ൲ङࣄʚિͳ‫ق‬ኩࣅခኩຖ‫ك‬ඌᆚࣆචӷСኩ‫۝‬ඦኩʺኩѨ‫ل‬ᄽׄੁéࣇ୽ʻᄾࣈ௚૭ኩ ௌ‫ڒ‬ኩᄿ‫ޜ‬҂ኩͺ६Ǫࢊੂ²ኩƽ‫ޝ‬Ӹኩ൳‫م‬ෛဂವତኩቌ‫ޞ‬ಶኩ
འളҷͱࣩ‫ۅ‬ӲϢኩ޿૘ኩƢᆴूՔኩĘĚृ͛ DĲኩ                                                           ൴ແ೎ѩሃγ‫ن‬ѪኩჀ‫نޟ‬ኩࣉ୾۞੃êʼ႘ࢻಷćêኩ ੄ሄဃᅀኩ൵ທ‫ه‬င‫و‬ຘሩ‫ى‬ኩᅁ‫ޠ‬ӑኩ࣊ଠ‫ڹ‬೤ນ੅ʽႂ࣋ா୿ኩህ஀၊޼ঝኩ჌ܽԛኩϐঞʾ࣌੆ኩ࣍စ
     ߗࠠߔEኩซՕ඄ᆵߔฌՖཡኩЃࠡརτऩపལᆶඞ՗ኩఛ‫ٽ‬ኩ൨ ญࠢሚࠣॄ՘‫܂‬ՙϠኩఫฎኩబာ‫ֳݘ‬ොኩഴො௪႗՚͜႘՛Вኩ৫Ⱥᅤჿԅฏvኩࠤ‫پ‬ତத       ບ‫ي‬ဆ௶७ሪًϕ°
՜ቒ͝՝ം႙ࠥ௩૙ኩதฐኩሽȻࠦማ՞ฑኩȄഫവझߝՈཤĳኩ௪ฒኩ
     1࣪ሜFኩཥᆘ˟ऊ Ҁ̩ႚསኩ૚ኩശ՟ณཧభ୍ኩႛௌኩᆷଗГᆸԝኩ˭ሎ๧ъӊ૛ኩ                                      .‫ܣ‬W Śಸ஁ᅂٌੇ൶ ᅯኩ
   ǂ‫ݙ‬ՠ૜ኩƖաด৬࣫ᅥᅦբД§ኩƸௌኩഷໆబႜԡ͞ႆኩȼኩസգตဓ௃૝ኩཨᆹ ̎դ͟ႝኩ႞మኩయถኩȽ‫ۀ‬ե͠ႂզϕኩˮቹኩȾኩ                 ƾ‫ٍݭ‬ኩδಹሆบၖኩ ۟ປኩᅃ‫َޡ‬ኩѫ޺ဇᅄë࣎εᅅኩቍ‫ُޢ‬ຜِኩ̺಺ੈ ൷८ ࣏ʿஂّ̫ኩࠠဈኩຝ֙඄ሇ࣐ພْЃȞஃϕኩȴ९ဉಡኩȓ‫ڻ‬ᅲٓຟኩˀ
ཀྵᆺ˯೵రէ૙ȿoኩ႟‫ݚ‬ӈኩ͡லᆻทႠኩ‫ە‬ธኩၾ‫ܯ‬ըኩЕ࣬໨ᄒජࠧ͢Ⴁኩሾ‫ܫ‬Ӥนթኩͣఱৎഹॅࠨɀ੸ͤժኩࠩཪኩයԗඅᆼࠪතӢЖኩ৭Ǡቺ wኩల૞ኩ          ੉ఏᅆޯ಻஄ኩ࠹ླྀኩᅇයȂஅໞ‫ڿ‬ĀԡѬኩᅈ‫ٔޣ‬ኩ࣑ညཱለ࣒ஆ‫܃‬ኩζ಼ሉธံ৏ɼኙኩ‫ޤ‬ನ॰ѭኩޯଏኩηதஇ႒ٕ਺൸ᅉኩɎኩ൸ٖຠဉಽஈኩ
৮௹Ⴂࠫళଘxኩආᆽɏཫ‫ݛ‬ኩఇบኩ৯ఴЗࠬ ۤኩ Ⴃ‫ܩ‬իኩཬᆾ˭൨వլ૟ᆿኩ࠭‫ۋ‬ᅱኩปխඇᇀ࠮ผҝ཭Ĥኩ                                ቎‫ޥ‬ಾኩަȓራ࣓உ‫ܤ‬ኩ̊ٗԩઉኩဋ٘ìሬ‫؍‬Жኩ‫ڟ‬ˑࣔ॰ဌኩቁ࠹ѮāÔሊᅊኩǠы‫׌‬ඍᆪȂᅋٙኩ֞ቖθላဍٚኩᄛభኩௌ̋կኚኩᅌާٛኩ
      ࠯G Л࠰཮ͥॆశ཯࠱ૠ‫܃‬ኩǖኩႤິˌЃծኩ཰կͦฝ٢ᅧኩதพኩషဳ‫ݜ‬հฟኩͧோૡ‫ۆ‬ИҊૢႥ࠲ȷेኩඕձཱղɁภͨ‫ݝ‬yኩ                 ဎᆇ̌൹ ಿٜ૏ˁኩ௪ມኩʟଷኩ ஗ຢѯՉ෗ኩ ණ٪ल˂Ⴀ‫ن‬Ѱኩᅍೀኩ߸ᅰ¨
Зճምմैఫ೽ৰյૣჯ¶ኩ௑มኩͩసৱ৲՘ย̦࠳ɂॉኩ ࠴૤ۖ૥૦ɃႦࠀహ૭ĥኩ఺รኩ




                                         ů౿ฅኩĊικλဏတኩᅎ஦ኩထሌ̍ൺ஻‫׏‬ୗ˃ኩৰ˄ᅏّෛࣕ˅ট࿌ኩ³ኩ¼μνኩŰٝѱ´ኩƦ´ኩśࣖǆ´ኩƝኩĘĜ /˄XኩŜು੊ੋࣗဴႭٟٞኩƄೂၭ٠ኩ0ĒÑí ĔYኩ
Case 3:16-md-02738-MAS-RLS Document 33064-1
                                    32603-2 Filed 08/05/24
                                                  06/03/24 Page 7 of 17 PageID:
                                 185077
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Case 3:16-md-02738-MAS-RLS Document 33064-1
                                    32603-2 Filed 08/05/24
                                                  06/03/24 Page 8 of 17 PageID:
                                 185078
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Case 3:16-md-02738-MAS-RLS Document 33064-1
                                    32603-2 Filed 08/05/24
                                                  06/03/24 Page 9 of 17 PageID:
                                 185079
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Case 3:16-md-02738-MAS-RLS Document 33064-1
                                    32603-2 Filed 08/05/24
                                                  06/03/24 Page 10 of 17 PageID:
                                  185080
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Case 3:16-md-02738-MAS-RLS Document 33064-1
                                    32603-2 Filed 08/05/24
                                                  06/03/24 Page 11 of 17 PageID:
                                  185081
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Case 3:16-md-02738-MAS-RLS Document 33064-1
                                    32603-2 Filed 08/05/24
                                                  06/03/24 Page 12 of 17 PageID:
                                  185082
                                  227146




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Case 3:16-md-02738-MAS-RLS Document 33064-1
                                    32603-2 Filed 08/05/24
                                                  06/03/24 Page 13 of 17 PageID:
                                  185083
                                  227147




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Case 3:16-md-02738-MAS-RLS Document 33064-1
                                    32603-2 Filed 08/05/24
                                                  06/03/24 Page 14 of 17 PageID:
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                                    32603-2 Filed 08/05/24
                                                  06/03/24 Page 16 of 17 PageID:
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Case 3:16-md-02738-MAS-RLS Document 33064-1
                                    32603-2 Filed 08/05/24
                                                  06/03/24 Page 17 of 17 PageID:
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